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				IN RE: RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOCIATION2016 OK 93Case Number: SCBD-4483Decided: 09/19/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 93, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

IN RE: RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOCIATION
ORDER APPROVING APPLICATION TO AMEND ART. II SECTION 2(b) OF THE 
RULES CREATING AND CONTROLLING THE OKLAHOMA BAR ASSOCIATION
¶1 This matter comes on before this Court upon the Application of the Board of Governors of the Oklahoma Bar Association to amend Article II, Section 2(b) of the Rules Creating and Controlling the Oklahoma Bar Association, 5 O.S.Supp.2011, ch. 1, app. 1. This Court finds that it has jurisdiction over this matter, and that an Order should enter as follows: 
¶ IT IS HEREBY ORDERED, ADJUDGED AND DECREED by the Court that the Application for an Order to Amend Art. II, Section 2(b) of the Rules Creating and Controlling the Oklahoma Bar Association is granted. Article II, Section 2(b) is hereby amended as shown on the attached document, and is effective immediately. Section 2(b) as amended is also attached. In all other respects, the language of Section 2 shall remain unchanged.
¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 19th day of SEPTEMBER, 2016.
/S/VICE CHIEF JUSTICE
Reif, C.J., Combs, V.C.J., Kauger, Winchester, Taylor and Colbert, JJ., concur;
Watt, Edmondson and Gurich, JJ., not voting.

ARTICLE II, Section 2
(b) SENIOR MEMBERS. An active member in good standing who is seventy years of age as of the first day of January of the then current year, may become a senior member by filing with the Executive Director his statement, setting forth the month, day and year of his birth and requesting senior membership. Thereafter, he shall be entitled to all the privileges and advantages of active membership in the Association without payment of further dues, with the exception that he shall not receive the Bar Journal free of charge. If a senior member desires to receive the Bar Journal, the annual subscription cost shall be $25.00. the senior shall pay for an annual subscription, the cost of which shall be based upon production and mailing costs.

ARTICLE II, Section 2
(b) SENIOR MEMBERS. An active member in good standing who is seventy years of age as of the first day of January of the then current year, may become a senior member by filing with the Executive Director his statement, setting forth the month, day and year of his birth and requesting senior membership. Thereafter, he shall be entitled to all the privileges and advantages of active membership in the Association without payment of further dues, with the exception that he shall not receive the Bar Journal free of charge. If a senior member desires to receive the Bar Journal, the senior shall pay for an annual subscription, the cost of which shall be based upon production and mailing costs.





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